Case 2:20-cv-06904-GW-MAA Document 16 Filed 10/05/20 Page 1 of 2 Page ID #:66



 1 Jason A. Ibey, Esq. (SBN: 284607)
 2 jason@kazlg.com
   KAZEROUNI LAW GROUP, APC
 3 321 N Mall Drive, Suite R108
   St. George, Utah 84790
 4
   Telephone: (800) 400-6808
 5 Facsimile: (800) 520-5523
 6 Attorney for Plaintiff,
 7 Joubin Mortezapour
 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10 JOUBIN MORTEZAPOUR,                                Case No. 2:20-cv-06904-GW-MAA
   Individually and On Behalf of All
11
   Others Similarly Situated,                         NOTICE OF VOLUNTARY
12                                                    DISMISSAL OF DEFENDANT
                  Plaintiff,                          EASY DIAL INTERNATIONAL,
13
                                                      INC. WITHOUT PREJUDICE
14                  v.                                PURSUANT TO FED. R. CIV. P.
                                                      41(a)(1)(A)(I)
15
   EASY DIAL INTERNATIONAL,
16 INC.; FAST DIAL INC.,                              Judge:      George H. Wu
17
                         Defendant.
18
19
20
21
22
23
24
25
26
27
28
     ______________________________________________________________________________________________
                                                    1
     NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT EASY DIAL INTERNATIONAL, INC.
     CASE NO. 2:20-CV-06904-GW-MAA
Case 2:20-cv-06904-GW-MAA Document 16 Filed 10/05/20 Page 2 of 2 Page ID #:67



 1      TO THE HONORABLE COURT, ALL PARTIES, AND THEIR

 2 ATTORNEYS OF RECORD:
 3     Plaintiff Joubin Mortezapour voluntarily dismisses all claims against

 4 defendant Easy Dial International, Inc., without prejudice, pursuant to Rule
 5 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.
 6          No motion for class certification has been filed, and no class has been certified

 7 in this action. Accordingly, class notice and Court approval of this voluntary
 8 dismissal are not required under Fed. R. Civ. P. 23(e).
 9          This dismissal does not apply to the remaining defendant, Fast Dial, Inc.
10
11 Dated: October 5, 2020                           Respectfully submitted,
12                                                    KAZEROUNI LAW GROUP, APC
13
14                                                       By: /s/ Jason A. Ibey______
15                                                           Jason A. Ibey
                                                             321 N Mall Drive, Suite R108
16                                                           St. George, Utah 84790
17                                                           Phone: 800-400-6808
                                                             Email: Jason@kazlg.com
18
19                                                           Attorney for Plaintiff
                                                           JOUBIN MORTEZAPOUR
20
21
22
23
24
25
26
27
28
     ______________________________________________________________________________________________
                                                    2
     NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT EASY DIAL INTERNATIONAL, INC.
     CASE NO. 2:20-CV-06904-GW-MAA
